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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                   Plaintiff,                          Criminal Case No. 99-80714
v.
                                                       PAUL D. BORMAN
ROBERT DOWER,                                          UNITED STATES DISTRICT JUDGE

            Defendant.
______________________________/


                       ORDER DENYING DEFENDANT’S MOTION FOR
                   REDUCTION OF SENTENCE PURSUANT TO 18 U.S.C. §3582

        Defendant moves for a sentence reduction pursuant to 18 U.S.C. §3582(c)(2) based on a

Sentencing Guideline amendment which lowered the base offense level as to cocaine base

(“crack”) offenses, which was made retroactive through U.S.S.G. §1B1.10.

        Defendant’s evidence was based upon the Guideline Career Offender provision which

raised his base offense level based on the statutory sentence range without regard to the specific

amount of crack cocaine involved.

        The Career Offender provision mandates a base offense level of 34 and a criminal history

category of VI. Thus, the crack amendments do not lower Defendant’s guideline range, and

Defendant is therefore not eligible for relief under §3582.

        The Sixth Circuit has ruled accordingly in United States v. Alexander, 543 F.3d 819, 825

(6th Cir. 2008):

                   [t]hese amendments do not help Alexander because the sentencing range applied
                   to his case is derived exclusively from the Guidelines’ unamended career-
                   offender provision set forth in U.S.S.G. §4B1.1(a), not the amended drug-quantity
                   table listed at U.S.S.G. §2D1.1.

        Accordingly Defendant’s Motion is DENIED.
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SO ORDERED.




                                            S/Paul D. Borman
                                            PAUL D. BORMAN
                                            UNITED STATES DISTRICT JUDGE

Dated: March 31, 2009

                                CERTIFICATE OF SERVICE

Copies of this Order were served on the attorneys of record by electronic means or U.S. Mail on
March 31, 2009.


                                            S/Denise Goodine
                                            Case Manager
